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                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    IN RE: PHILIPS RECALLED CPAP,                )
    BI-LEVEL PAP, AND MECHANICAL                 )      Master Docket: Misc. No. 21-1230
    VENTILATOR PRODUCTS                          )
    LITIGATION,                                  )      MDL No. 3014
                                                 )
    This Document Relates to: All Actions        )

JOINT PROPOSED AGENDA FOR JUNE 18, 2024 STATUS CONFERENCE: PHILIPS MDL 3014

      1. Personal Injury Settlement Update;

      2. LDC Update; and

      3. Medical Monitoring Preliminary Approval Hearing (at 3:00 p.m.) 1

    Dated: June 14, 2024                                  Respectfully submitted,

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 The parties would be prepared to begin the preliminary approval hearing immediately after the conclusion
of the Case Management Conferences if the Court prefers.
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